
76 N.Y.2d 1000 (1990)
The People of the State of New York, Appellant,
v.
Richard Akptotanor, Respondent.
Court of Appeals of the State of New York.
Argued November 16, 1990.
Decided December 18, 1990.
Charles J. Hynes, District Attorney (Sherry B. Bokser and Jay M. Cohen of counsel), for appellant.
Susan J. Feathers and Philip L. Weinstein for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE, HANCOCK, JR., and BELLACOSA.
Order affirmed. On the state of the record before us, we cannot say as a matter of law that the Appellate Division erred.
